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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                 (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                     Plaintiffs,

                         - against -
                                                                  Adv. Pro. No. 23-50444 (JTD)
PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                                     Defendants.


                  DECLARATION OF MATTHEW B. MCGUIRE
    IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT PLATFORM LIFE
      SCIENCES. INC.’S MOTION TO DISMISS THE COMPLAINT FOR LACK OF
                          PERSONAL JURISDICTION

         I, Matthew B. McGuire, hereby declare that the following is true and correct to the best

of my knowledge, information and belief:



1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
     4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0072557.}
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           1.   I am a member in good standing of the Bar of the State of Delaware and have been

admitted to practice before this Court. I am a partner of Landis Rath & Cobb LLP and am one of

the attorneys representing FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(the “Debtors”), including Alameda Research Ltd. in the above-captioned cases. I submit this

declaration in connection with Plaintiffs’ Opposition to Defendant Platform Life Sciences, Inc.’s

Motion to Dismiss for Lack of Personal Jurisdiction (“Opposition Brief”), filed concurrently

herewith, to place before the Court certain documents and information referred to in the Opposition

Brief. 2

           2.   Attached hereto as Exhibit 1 is a true and correct copy of Platform Life Sciences

Inc.’s (“PLS”) Investment Proposal for the FTX Foundation, dated March 28, 2022.

           3.   Attached hereto as Exhibit 2 is a true and correct copy of a Notice of Change of

Directors from British Columbia Canada’s Registry Services filed on July 22, 2022, reflecting

PLS’s current directors.

           4.   Attached hereto as Exhibit 3 is a true and correct copy of a PLS presentation that

Ed Mills, the CEO of PLS, emailed to Debtors’ counsel and their advisors on June 1, 2023.

           5.   Attached hereto as Exhibit 4 is a true and correct copy of the “About Us” page of

PLS’s website, last accessed Sept. 26, 2023.

           6.   Attached hereto as Exhibit 5 is a true and correct copy of the biography of Mark

Dybul, PLS’s Executive Chairperson, on PLS’s website.

           7.   Attached hereto as Exhibit 6 is a true and correct copy of a property record, which

has been redacted to protect personal identifying information, collected from the Maryland State



2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Opposition Brief.



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Department of Assessments and Taxation’s online real property database that reflects Dybul’s

current ownership of a home in Chestertown, Maryland.

       8.     Attached hereto as Exhibit 7 is a true and correct copy of the LinkedIn profile of

Bob Battista, the Chief Commercial and Strategy Officer of PLS.

       9.     Attached hereto as Exhibit 8 is a true and correct copy of the LinkedIn profile of

Twanna Davis, the Head of Clinical Trial Solutions of PLS.

       10.    Attached hereto as Exhibit 9 is a true and correct copy of a property record, which

has been redacted to protect personal identifying information, collected from the Alamance County

Government Tax Administration’s online real property database that reflects Davis’s current

ownership of a residence in Mebane, North Carolina.

       11.    Attached hereto as Exhibit 10 is a true and correct copy of the LinkedIn profile of

Katie Winter, the Vice President of Product Lifecycle Innovations of PLS.

       12.    Attached hereto as Exhibit 11 is a true and correct copy of a property record, which

has been redacted for personal identifying information, collected from the Commonwealth of

Massachusetts’ online real property database that reflects Winter’s current ownership of a

condominium in Ashland, Maryland.

       13.    Attached hereto as Exhibit 12 is a true and correct copy of the LinkedIn profile of

Melissa Bomben, the Chief Operating Officer of PLS.

       14.    Attached hereto as Exhibit 13 is a true and correct copy of a property record, which

has been redacted for personal identifying information, collected from the Whatcom County,

Washington Assessor & Treasurer’s online real property database that reflects Bomben’s current

ownership of a residence in Blaine, Washington.




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       15.    Attached hereto as Exhibit 14 is a true and correct copy of a post on PLS’s LinkedIn

page from October 2022 publicizing then-CEO of PLS Michael Zimmerman’s attendance of the

Veeva Summit in Boston.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of the LinkedIn profile of

Ed Mills, the current CEO of PLS.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of the “Publications” page

of PLS’s website, reflecting various “Purpose Life Sciences Published Works,” last accessed Sept.

27, 2023.

       18.    Attached hereto as Exhibits 17–21 are true and correct copies of articles published

in U.S. medical journals featured on the “Publications Page” of PLS’s website: “Global HIV

Control: Is the Glass Half Empty or Half Full?” published in The Lancet (Exhibit 17); “Pegylated

Interferon Lambda for Covid-19” published in the New England Journal of Medicine (Exhibit

18); “Early Treatment with Pegylated Interferon Lambda for Covid-19” published in the New

England Journal of Medicine (Exhibit 19); “Advancing Detection and Response Capacities for

Emerging and Re-Emerging Pathogens in Africa” published in The Lancet (Exhibit 20); and the

“Effect of Early Treatment with Ivermectin among Patients with Covid-19” published in the New

England Journal of Medicine (Exhibit 21).

       19.    Attached hereto as Exhibit 22 is a true and correct copy of the LinkedIn profile of

Michael Zimmerman, the former CEO of PLS and a current director of PLS.

       20.    Attached hereto as Exhibit 23 is a true and correct copy of a property record, which

has been redacted for personal identifying information, collected from the City and County of San

Francisco that reflects Zimmerman’s current ownership of a residential property in San Francisco.




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       21.     Attached hereto as Exhibit 24 is a true and correct copy of a May 20, 2022 email

from Ross Rheingans-Yoo to Mills and Zimmerman relating to the investment by Latona

Bioscience Group (“Latona”) in PLS.

       22.     Attached hereto as Exhibit 25 is a true and correct copy of a Client Information

Form that Rheingans-Yoo submitted in connection with the incorporation of Latona, on January

14, 2022; it has been redacted to protect personal identifying information.

       23.     Attached hereto as Exhibit 26 is a true and correct copy of Rheingans-Yoo’s U.S.

Passport submitted in connection with the Client Information Form attached as Exhibit 25; it has

been redacted to protect personal identifying information.

       24.     Attached hereto as Exhibit 27 is a true and correct copy of Rheingans-Yoo’s U.S.

driver’s license submitted in connection with the Client Information Form attached as Exhibit 24;

it has been redacted to protect personal identifying information.

       25.     Attached hereto as Exhibit 28 is a true and correct copy of a current driving report

for Rheingans-Yoo collected from Denspri LLC.

       26.     Attached hereto as Exhibits 29–31 are true and correct copies of emails from

Zimmerman to Mills, Rheingans-Yoo and PLS’s U.S. counsel, Pearl Cohen Zedek Latzer Baratz

LLP, reflecting PLS board meetings that were held virtually using Microsoft Teams.

       27.     Attached hereto as Exhibit 32 is a true and correct copy of PLS’s LinkedIn profile

that reflects PLS’s current employees.

       28.     Attached hereto as Exhibit 33 is a true and correct copy of the LinkedIn profile of

Inna Roitman, a PLS employee in the U.S.

       29.     Attached hereto as Exhibit 34 is a true and correct copy of the LinkedIn profile of

Amy Ghelardi, a PLS employee in the U.S.




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       30.     Attached hereto as Exhibit 35 is a true and correct copy of the LinkedIn profile of

Lauren Panco, a PLS employee in the U.S.

       31.     Attached hereto as Exhibit 36 is a true and correct copy of a January 26, 2023 post

on PLS’s LinkedIn page, advertising a Sr. Director of Business Development position at PLS in

Boston, Massachusetts.

       32.     Attached hereto as Exhibit 37 is a true and correct copy of the “Careers” page of

PLS’s website, advertising two available “Remote USA” positions at PLS.

       33.     Attached hereto as Exhibit 38 is a true and correct copy of job openings for a

Clinical Project Manager and Clinical Team Manager on PLS’s Bamboo HR page.

       34.     Attached hereto as Exhibit 39 is a true and correct copy of press release from CVS

Health concerning CVS Health’s Clinical Trial Services, dated May 20, 2021.

       35.     Attached hereto as Exhibit 40 is a true and correct copy of a post on PLS’s LinkedIn

page from January 2023, publicizing PLS employee Erica Figueroa’s attendance at the JP Morgan

Healthcare Conference in San Francisco.

       36.     Attached hereto as Exhibit 41 is a true and correct copy of a post on PLS’s LinkedIn

page from February 2023, publicizing Figueroa’s attendance at the Outsourcing Clinical Trials

West Coast conference in San Francisco.

       37.     Attached hereto as Exhibit 42 is a true and correct copy of a post on PLS’s LinkedIn

page from June 2023, publicizing PLS employees Battista’s and Winter’s attendance of the

biotechnology convention BIO 2023 in Boston.

       38.     Attached hereto as Exhibit 43 is a true and correct copy of a post on PLS’s LinkedIn

page from June 2023, publicizing PLS employee Katie Winter’s attendance at a clinical trial design

meeting hosted by the Drug Information Association in Boston.




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       39.     Attached hereto as Exhibit 44 is a true and correct copy of an excerpt of the

transcript of the testimony of Dr. Mark Dybul, who was introduced as PLS’s Executive

Chairperson, before the United States Senate Committee on Foreign Relations on April 19, 2023.

       40.     Attached hereto as Exhibit 45 is a true and correct copy of the “Our Approach”

page of PLS’s website.

       41.     Attached hereto as Exhibit 46 is a true and correct copy of a May 13, 2022 email

from Mills to Rheingans-Yoo discussing Mills’s intention to accept the 2022 David Sackett Trial

of the Year Award in San Diego.

       42.     Attached hereto as Exhibit 47 is true and correct copy of a press release by the

Society for Clinical Trials dated May 2, 2022 announcing the TOGETHER Trial as the recipient

of the 2022 David Sackett Trial of the Year Award in San Diego.

       43.     Attached hereto as Exhibit 48 is a true and correct copy of the archived homepage

of the TOGETHER Trial website as it existed on September 13, 2021, which was obtained from

the WayBack Machine. It lists Fast Grants, the Rainwater Charitable Foundation, and the Bill &

Melinda Gates Foundation as sponsors of the TOGETHER Trial.

       44.     Attached hereto as Exhibit 49 is a true and correct copy of the homepage of Fast

Grants website, excerpted for length, that shows that Fast Grants is based in the United States.

       45.     Attached hereto as Exhibit 50 is a true and correct copy of the homepage of the

Rainwater Charitable Foundation that shows that the Rainwater Charitable Foundation is based in

the United States.

       46.     Attached hereto as Exhibit 51 is a true and correct copy of the “Contact Us” page

of the Bill & Melinda Gates Foundation website that shows that the Bill & Melinda Gates

Foundation is headquartered in the United States.




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       47.     Attached hereto as Exhibit 52 is a true and correct copy of a press release from

PLS titled “Rwanda FDA approves Platform Life Sciences and GreenLight Biosciences to launch

a Phase I clinical trial in Rwanda for mRNA COVID-19 vaccine,” dated February 2, 2023.

       48.     Attached hereto as Exhibit 53 is a true and correct copy of a March 28, 2022 email

from Can Sun (General Counsel of FTX Trading) to Rheingans-Yoo and Ashley Sturrup (Counsel

for FTX Digital Markets Ltd.) discussing and attaching a revised draft term sheet for a $50 million

investment by Latona in PLS. It has been redacted for privilege.

       49.     Attached hereto as Exhibit 54 is a true and correct copy of an April 4, 2022 email

between Rheingans-Yoo to Mills discussing PLS’s incorporation of a Delaware entity.

       50.     Attached hereto as Exhibit 55 is a true and correct copy of the Services Agreement

between Latona and PLS, dated June 7, 2022, pursuant to which Latona agreed to invest $15

million in PLS for future services.

       51.     Attached hereto as Exhibit 56 is a true and correct copy of an email thread between

Sun and PLS’s U.S. counsel Pearl Cohen, among others, regarding negotiations between Latona

and PLS in connection with Latona’s investment.

       52.     Attached hereto as Exhibit 57 is a true and correct copy of the Simple Agreement

for Future Equity between Latona and PLS, dated May 2, 2022, pursuant to which Latona agreed

to invest $35 million in PLS.

       53.     Attached hereto as Exhibit 58 is a true and correct copy of a May 15, 2022 email

from Zimmerman to Rheingans-Yoo and Josephine Chan (FTX Group), cc-ing Mills, attaching

PLS’s wire transfer instructions.




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       54.     Attached hereto as Exhibit 59 is a true and correct copy of wire instructions for

Alameda’s bank account #4464 at Silvergate Bank in La Jolla, California. It has been redacted to

protect confidential business information.

       55.     Attached hereto as Exhibit 60 is a true and correct copy of a statement summary

for Alameda’s bank account #4464 at Silvergate Bank in La Jolla, California, dated April 29, 2022.

It has been redacted to protect confidential business information.

       56.     Attached hereto as Exhibit 61 is a true and correct copy of a statement summary

for Alameda’s bank account #4464 at Silvergate Bank in La Jolla, California, dated May 31, 2022,

reflecting Alameda’s $35 million transfer to PLS on May 26, 2022. It has been redacted to protect

confidential business information.

       57.     Attached hereto as Exhibit 62 is a true and correct copy of a June 18, 2022 email

from Zimmerman to Chan, providing wire transfer instructions for Alameda’s $15 million transfer

to PLS.

       58.     Attached hereto as Exhibit 63 is a true and correct copy of a statement summary

for Alameda’s bank account #4464 at Silvergate Bank in La Jolla, California, dated June 30, 2022,

reflecting Alameda’s $15 million transfer to PLS on June 21, 2022. It has been redacted to protect

confidential business information.

       59.     Attached hereto as Exhibit 64 is a true and correct copy of a January 31, 2022 email

from Mills to Chan attaching PLS’s wire transfer instructions for FTX Trading’s $3.25 million

“Philanthropic Gift” to PLS.

       60.     Attached hereto as Exhibit 65 is a true and correct copy of a February 3, 2022 email

from Mills to Chan concerning the $3.25 million wire transfer.




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       61.     Attached hereto as Exhibit 66 is a true and correct copy of a statement summary

for FTX Trading’s bank account #9018 at Signature Bank in New York, New York dated February

28, 2022, reflecting FTX Trading’s $3.25 million transfer to PLS on February 4, 2022. It has been

redacted to protect confidential business information.

       I declare under penalty of perjury under the laws of the United States of America pursuant

to 28 U.S.C. § 1746 that the foregoing in true and correct to the best of my knowledge, information,

and belief.

Executed in Wilmington, Delaware on this 29th day of September 2023


                                                      /s/ Matthew B. McGuire
                                                      Matthew B. McGuire (No. 4366)




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